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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS                                             16     frf   8:05
                                   AUSTIN DIVISION
                                                                                         r


COMMISSION FOR LAWYER DISCIPLINE, §
         Plaintiff,               §
                                                      §
v.                                                    §             CASE # 1:20-CV-0015 -
                                                      §
BRAND! K STOKES,                                      §
          Defendant.                                  §

                                MOTION TO VACATE ORDER

          NOW COMES Defendant, Brandi K Stokes, and files this MOTION TO VACATE

ORDER, and shows the Court the following:

          On February 10, 2020, District Judge Robert Pitman entered an order placing a burden

upon the Defendant to retrieve and file records from the state court and to do so electronically.

Dkt. 7.

          As a preliminary matter, District Judge Robert Pitman is disqualified from participating

in any proceeding involving the Defendant as a matter     of law, and the Defendant has on file an

affidavit sufficient to trigger an automatic disqualification pursuant to 28 U.S. Code       § 144. See

Dkt. 3. The disqualification alone warrants the setting aside of this order.

          The predominant reason, however, that the Defendant is requesting that the order be

vacated is because the Defendant is entitled to court-appointed counsel and has requested that

the United States, by and through this Court, provide the International Committee of the Red

Cross with a list of qualified or competent attorneys, as required by the Geneva Conventions.

The Defendant is unable to comply with any order that places a burden upon her until such time

as competent counsel is appointed and has had an opportunity to investigate. Though the order

seems simple enough, in this case, it is not. The Defendant has been the subject of death threats
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and suffers from a decline in her health. She has further been targeted by malicious hackers to

such an extent that she no longer feels comfortable requesting electronic filing credentials in the

federal court.

       The Defendant prays that this motion be granted in its entirety. Defendant further requests

an evidentiary hearing after the appointment of competent counsel.

DATED: February 12, 2020


                                              B andi K Stokes, Defendant
                                              Texas State Bar No. 24044940
                                              brandi.stokesgmail.com      +1 512 206 0202

                                CERTIFICATE OF SERVICE

       I certify that on February 12,2020, a true and correct copy of the above was served on
counsel for the Plaintiff through CMRRR at the address listed for Plaintiff.



                                                 47(                /c      j(
                                              Brandi K Stokes




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